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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

              Plaintiff,                                 Hon. Paul L. Maloney

 v.                                                      Case No. 1:07-cr-158

 RUBEN ANOTONIO REYNA,

            Defendant.
 _________________________________/


                           ORDER MODIFYING CONDITIONS OF BOND


              This matter is before the Court on Defendant Reyna’s Motion to Reconsider

Detention Decision Regarding Tether (Dkt. #82). The Court being fully advised in the premises:

              IT IS HEREBY ORDERED that Defendant Reyna’s Motion to Reconsider

Detention Decision Regarding Tether (Dkt. 82) is GRANTED. The conditions of Mr. Reyna’s bond

are modified as such to remove the electronic monitoring requirement of home confinement. All

other conditions previously imposed remain in effect.



Date: September 17, 2007                                   /s/ Paul L. Maloney
                                                          PAUL L. MALONEY
                                                          United States District Judge
